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                           FIDELITY NATIONAL MANAGEMENT
                  8        SERVICES, LLC
                  9
                                                  UNITED STATES DISTRICT COURT
                10
                                  CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
                11
                           JAMES BURDA, an individual,             Case No. 8:11-CV-00247 JVS MLGx
                12         LAUREL HESS, an individual, LORI        HON. JAMES V. SELNA
                           CALLISON, an individual, CANDEE
                13         ERWIN, an individual, SHIRLEY
                           PALAZZO, an individual, JOYCE
                14         SCHEMEL, an individual, on behalf of    NOTICE OF SETTLEMENT AND
                           themselves, and all persons similarly   REQUEST TO TAKE PRE-TRIAL
                15         situated,                               CONFERENCE OFF CALENDAR
                16                        Plaintiffs,
                17         v.
                18
                           FIDELITY NATIONAL                       Pretrial Conference:   Nov. 18, 2013
                19         MANAGEMENT SERVICES, LLC, a             Trial Date:            Dec. 03, 2013
                           Delaware limited liability company
                20         doing business in the State of
                           California, and DOES 1 through 100,
                21         Inclusive,
                22                        Defendants.
                23

                24

                25

                26

                27

                28
LITTLER MENDELSON, P.C.
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            Case 8:11-cv-00247-JVS-MLG Document 271 Filed 11/08/13 Page 2 of 3 Page ID #:12697



                  1              TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                  2              PLEASE TAKE NOTICE that plaintiffs James Burda, Laurel Hess, Lori
                  3        Callison, Candee Erwin, Shirley Palazzo, and Joyce Schemel (“Plaintiffs”) and
                  4        defendant Fidelity National Management Services, LLC (“Defendant”) (collectively,
                  5        “the Parties”) have reached a settlement of all claims in this matter. While the Parties
                  6        memorialize the terms of the settlement, they 1 request that the Court take off calendar
                  7        the Pre-Trial Conference scheduled for November 18, 2013.
                  8

                  9        Dated: November 8, 2013
                10

                11                                                       /S/ Curtis A. Graham
                                                                         CURTIS A. GRAHAM
                12                                                       DOUGLAS A. WICKHAM
                                                                         MICHELLE RAPOPORT
                13                                                       LITTLER MENDELSON, P.C.
                                                                         Attorneys for Defendant
                14                                                       FIDELITY NATIONAL
                                                                         MANAGEMENT SERVICES, LLC
                15

                16         Dated: November 8, 2013
                17                                                       /S/ David R. Markham
                                                                         David R. Markham
                18                                                       THE MARKHAM LAW FIRM.
                                                                         Attorneys for Plaintiffs
                19

                20         Dated: November 8, 2013
                21

                22                                                       /S/ James M. Treglio
                                                                         James M. Treglio
                23                                                       CLARK LAW FIRM
                                                                         Attorneys for Plaintiffs
                24

                25

                26
                           1
                27           Pursuant to Local Rule 5-4.3.4(a)(2)(i), counsel for Defendant attests that all other
                           signatories listed, and on whose behalf the filing is submitted, concur in the filing’s
                28         content and have authorized the filing.
LITTLER MENDELSON, P.C.
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         63rd Floor
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                                                                    2.
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            Case 8:11-cv-00247-JVS-MLG Document 271 Filed 11/08/13 Page 3 of 3 Page ID #:12698



                  1

                  2                                           PROOF OF SERVICE BY MAIL
                  3                 I am employed in Los Angeles County, California. I am over the age of
                  4        eighteen years and not a party to the within-entitled action. My business address is
                  5        633 West 5th Street, 63rd Floor, Los Angeles, California 90071.                      I served the
                  6        following documents
                  7                    NOTICE OF SETTLEMENT AND REQUEST TO TAKE PRE-
                  8                    TRIAL CONFERENCE OFF CALENDAR

                  9         Nicholas Wagner, Esq.                           R. Craig Clark
                            Andrew B. Jones, Esq.
                10                                                          James M. Treglio
                            Daniel M. Kopfman, Esq.                         Laura M. Cotter
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                18          E-mail: dmarkham@markham-law.com                E-mail: Walter@whaines.com,
                            Attorneys for Plaintiffs
                19                                                          admin@uelglaw.com
                                                                            Attorneys for Plaintiffs
                20

                21                  By notice of Electronic Filing, which is a notice automatically generated by the
                22         CM/EF system at the time the document listed above was filed with this Court, to lead
                23         counsel listed by CM/ECF as “ATTORNEY TO BE NOTICED.”
                24                  I declare that I am employed in the office of a member of the bar of this court at
                25         whose direction the service was made.
                26                  Executed on November 8, 2013, at Los Angeles, California.
                27
                                                                      /s/ Evangeline Granados
                28         Firmwide:123983783.1 078508.1001
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